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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

TREVA THOMPSON, et al.,                  )
                                         )
              Plaintiffs,                )
                                         )
       v.                                )      CASE NO. 2:16-CV-783-WKW
                                         )
STATE OF ALABAMA, et al.,                )
                                         )
              Defendants.                )

                                     ORDER

       Before the court is the parties’ Joint Stipulation of Dismissal of Plaintiffs

Swetman, Reynolds, and Newby. (Doc. # 94.) Based on the stipulation, which

comports with Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

actions filed by Plaintiff Melissa Swetnam, Plaintiff Anna Reynolds, and Plaintiff

Larry Joe Newby are DISMISSED.

       The Clerk of the Court is DIRECTED to terminate these Plaintiffs as parties

to this lawsuit.

       DONE this 19th day of March, 2018.

                                           /s/ W. Keith Watkins
                                 CHIEF UNITED STATES DISTRICT JUDGE
